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                           EXHIBIT A
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  September 2, 2021

  VIA ELECTRONIC MAIL

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  Re:     Continental Casualty Co. v. AWP USA Inc. a/k/a Aga Inc., No. 3:19-cv-00661 (E.D. Va.)

  Dear Counsel:

  On behalf of Continental Casualty Company ("Continental"), we write to meet and confer to
  hopefully avoid the need to seek judicial intervention regarding Defendants' improper objections
  to Continental's First Set of Interrogatories and Requests for Production (the "Discovery
  Requests").

  Defendants' objections lack the specificity required under federal and local rules and therefore
  do not enable Continental to determine whether Defendants are refusing to search for or
  produce responsive material on the basis of the objections. See Fed. R. Civ. P. 33(b)(4) ("The
  grounds for objecting to an interrogatory must be stated with specificity.") & 34(b)(2)(C) ("An
  objection must state whether responsive materials are being withheld on the basis of that
  objection."). The Fourth Circuit strongly disfavors such general objections. See, e.g., Acosta v.
  Med. Staffing of Am., LLC, No. 2:18CV226, 2019 WL 6122016, at *4 (E.D. Va. Mar. 15, 2019)
  ("Generalized, boilerplate objections  ...  are highly disfavored in the Fourth Circuit.") (internal
  quotation marks and citations omitted); Spendlove v. RapidCourt, LLC, No. 3:18-CV-856, 2019
  WL 7143664, at *3 (E.D. Va. Dec. 23, 2019) ("The principle problems with general objections
  are that (1) they reach so broadly that the requesting party cannot determine what is being
  answered or responded to and what is not; and (2) the generality obscures what the general
  objection is foreclosing from discovery.").

  For example, Defendants have objected to every single request for documents and a number of
  interrogatories as "overly broad" and "unduly burdensome" yet fail to explain why the specific
  request is too broad or why searching for and producing or logging the responsive discovery
  would pose an undue burden on Defendants. General objections as to breadth and burden are
  improper. See, e.g., Spendlove, 2019 WL 71436634, at *4 (overruling similar objections where
  objecting party "provided no affidavit or other evidence indicating why any of the   discovery
                                                                                       ...




  requests are overbroad or unduly burdensome").          The baseless nature of these general
  objections is highlighted by the fact that Defendants objected to Discovery Requests that seek
  the information mandated by Federal Rule of Civil Procedure 26(a)(1). See Interrogatories No.
  1 & 6; Request for Production No. 3. Similarly, Continental fails to see how narrowly tailored
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  requests for specific, easily identifiable documents in the underlying actions—such as mediation
  statements and expert reports—are overly broad or overly burdensome.

  Similarly, Defendants object to numerous Discovery Requests on the grounds that they seek
  "irrelevant" documents or information. With rare exception, Defendants fail state in "plain" and
  "specific" terms why the information sought is objectionable in light of the claims and defenses
  in this action and are therefore improper general objections. Id. (overruling relevance objections
  that were not "plain enough and specific enough so that the court can understand in what way
  the interrogatories [or document requests] are alleged to be objectionable.") (quoting Panola
  Land Buyers Assn v. Shuman, 762 F.2d 1550, 1559 (11th Cir. 1985)).

  Continental asks that Defendants withdraw their improper objections and provide the requisite
  specificity. Further, Continental asks that Defendants clarify for each request if Defendants are
  refusing to search for or provide any discovery on the basis of specific objections so that we
  may promptly bring any remaining disputes to the Court's attention, if necessary.

  In addition, Defendants' objections refer to "confidential and/or proprietary business information
  that can only be disclosed pursuant to amutually agreeable protective order from this Court and
  permission from the appropriate underlying court/parties." As you know, the Court has issued a
  protective order in this case precisely to enable the production of confidential and/or proprietary
  information.   To the extent there are confidentiality agreements or protective orders that
  Defendants contend prevent the production of otherwise responsive documents notwithstanding
  this protective order, please provide copies of those agreements/orders at your earliest
  convenience to enable Continental to evaluate the propriety of these objections.           Further,
  Defendants should promptly take any steps necessary to obtain the requisite approval from
  other courts or parties to produce responsive documents pursuant to the protective order in this
  case.

  Please do not hesitate to contact us if it would be useful to discuss further.

  Very truly yours,

  WILEY REIN LLP




  Richard A. Simpson
  Mary E. Borja
